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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

450 Golden Gate Avenue
San Francisco, CA 94102
cand_uscourts. gov

May 22, 2023

Subject: 22-cv-9011-JD
DeBert v. Santa Cruz County Sheriff's Department

An order has been filed in the subject case that the complaint and summons be served
upon the defendant(s)

To ensure that proper service is made, the address(es) of the defendant(s) must be
submitted to this office. Please use the Dotlom portion OF this letter to print the current address
for each listed defendant.

You may email a picture or scan of the completed form to
jessica_stitts/@cand_uscourts.gov. As an alternative, you may use the self-addressed postage paid
envelope to mail this information to the court.

SIMCSTETY,

Mark A Riehu Clerk

Name Address _

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